USCA11 Case: 24-12311   Document: 27-1   Date Filed: 09/03/2024   Page: 1 of 13




                          Case No. 24-12311-J

         IN THE UNITED STATES COURT OF APPEALS
                 FOR THE ELEVENTH CIRCUIT


                  UNITED STATES OF AMERICA,
                           Appellant,

                                    v.

     DONALD J. TRUMP, WALTINE NAUTA, and CARLOS DE
                        OLIVEIRA
                   Defendants-Appellees


           On appeal from the United States District Court
                 for the Southern District of Florida
                  Case No. 23-80101-CR-CANNON


      MOTION OF AMICI CONSTITUTIONAL LAWYERS,
      FORMER GOVERNMENT OFFICIALS, AND STATE
   DEMOCRACY DEFENDERS ACTION FOR LEAVE TO FILE
     AMICI BRIEF IN SUPPORT OF APPELLANT UNITED
    STATES OF AMERICA AND REVERSAL OF JUDGMENT


                                                MATTHEW A. SELIGMAN
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                                                        Counsel for Amici
USCA11 Case: 24-12311   Document: 27-1   Date Filed: 09/03/2024   Page: 2 of 13



             CORPORATE DISCLOSURE STATEMENT

     State Democracy Defenders Action (“SDDA”) submits this

corporate disclosure statement pursuant to Federal Rules of Appellate

Procedure 26.1 and 29 and 11th Circuit Rule 26.1-2. SDDA is a non-

profit organization that has no parent company. It has issued no stock,

and as such no person or entity owns ten percent or more of its stock.

             CERTIFICATE OF INTERESTED PERSONS

     A list of the amici is attached hereto. Undersigned counsel for

amici certifies that neither amici nor counsel for amici have a parent

corporation, and no company owns a ten percent or greater interest in

amici or counsel for amici. Pursuant to 11th Circuit Rule 26.1-1(b), the

undersigned further certifies that the above information will be entered

into the web-based stock ticker symbol CIP, indicating that there is

nothing to declare.

     Pursuant to Federal Rule of Appellate Procedure 26.1 and 11th

Circuit Rules 26.1-1 and 26.1-2, and based on the Certificate of

Interested Persons set forth on pages C-1 to C-7 of the Brief of the

United States filed on August 26, 2024 [doc. 18], the undersigned




                                   C-1
2746660.v1
USCA11 Case: 24-12311    Document: 27-1   Date Filed: 09/03/2024   Page: 3 of 13



hereby certifies that the following is a list of persons and entities who

have an interest in the outcome of this case:

     1. Advance Publications, Inc.

     2. Alonso, Cristina

     3. America First Legal Foundation

     4. American Broadcasting Companies, Inc., d/b/a ABC News

     5. Ayer, Donald

     6. Blackman, Joshua

     7. Blanche, Todd

     8. Bloomberg, L.P.

     9. Bove, Emil

     10.   Bowman, Chad

     11.   Bratt, Jay

     12.   Cable News Network, Inc.

     13.   Calabresi, Steven

     14.   Caldera, Louis

     15.   Cannon, Hon. Aileen

     16.   Cate, Matthew

     17.   CBS Broadcasting, Inc. o/b/o CBS News



                                    C-2
USCA11 Case: 24-12311     Document: 27-1   Date Filed: 09/03/2024   Page: 4 of 13



     18.   Citizens for Responsibility and Ethics in Washington

     19.   Citizens United

     20.   Citizens United Foundation

     21.   CMG Media Corporation

     22.   Coleman, Tom

     23.   Conway, George

     24.   Cooney, J.P.

     25.   Cox Enterprises, Inc. (COX) d/b/a The Atlanta Journal-

           Constitution

     26.   Dadan, Sasha

     27.   De Oliveira, Carlos

     28.   Dow Jones & Company, Inc., publisher of The Wall Street

           Journal

     29.   Dreeben, Michael

     30.   Edelstein, Julie

     31.   Fields, Lazaro

     32.   Fitzgerald, Patrick

     33.   Fort Myers Broadcasting Company

     34.   Gerson, Stuart



                                     C-3
USCA11 Case: 24-12311      Document: 27-1   Date Filed: 09/03/2024   Page: 5 of 13



     35.   Gertner, Nancy

     36.   Gillers, Stephen

     37.   Goodman, Hon. Jonathan

     38.   Gray Media Group, Inc. (GTN)

     39.   Guardian News & Media Limited

     40.   Harbach, David

     41.   Hirsch, Steven A.

     42.   Hulser, Raymond

     43.   Insider, Inc.

     44.   Irving, John

     45.   Kise, Christopher

     46.   Lacovara, Philip Allen

     47.   Landmark Legal Foundation

     48.   Lawson, Gary

     49.   Los Angeles Times Communications LLC, publisher of The

           Los Angeles Times

     50.   Maynard, Hon. Shaniek Mills

     51.   McKay, John

     52.   McNamara, Anne



                                      C-4
USCA11 Case: 24-12311   Document: 27-1   Date Filed: 09/03/2024   Page: 6 of 13



     53.   Meese, Edwin

     54.   Mishkin, Maxwell

     55.   Mukasey, Hon. Michael B.

     56.   Murrell, Larry Donald

     57.   National Cable Satellite Corporation d/b/a C-SPAN

     58.   National Public Radio, Inc.

     59.   Nauta, Waltine

     60.   NBCUniversal Media, LLC d/b/a NBC News, a subsidiary of

           Comcast Corporation (CMCSA)

     61.   Orlando Sentinel Media Group, publisher of the Orlando

           Sentinel

     62.   Pearce, James

     63.   Pellettieri, John

     64.   POLITICO LLC

     65.   Potter, Trevor

     66.   Radio Television Digital News Association

     67.   Raul, Alan Charles

     68.   Reinhart, Hon. Bruce E.

     69.   Reuters News & Media, Inc.



                                   C-5
USCA11 Case: 24-12311    Document: 27-1   Date Filed: 09/03/2024   Page: 7 of 13



     70.   Russell, Lauren

     71.   Salario, Samuel

     72.   Sample, James J.

     73.   Sasso, Michael

     74.   Schaerr, Gene

     75.   Seligman, Matthew

     76.   Smith, Abbe

     77.   Smith, Fern

     78.   Smith, Jack

     79.   State Democracy Defenders Action

     80.   Sun-Sentinel Company, LLC, publisher of the South Florida

           Sun Sentinel

     81.   TEGNA, Inc. (TGNA)

     82.   Telemundo Network Group, LLC d/b/a Noticias Telemundo

     83.   Thakur, Michael

     84.   The Associated Press

     85.   The E.W. Scripps Company (SSP)

     86.   The McClatchy Company, LLC (MNI) d/b/a the Miami

           Herald



                                    C-6
USCA11 Case: 24-12311   Document: 27-1   Date Filed: 09/03/2024   Page: 8 of 13



     87.   The New York Times Company (NYT)

     88.   The Palm Beach Post and USA TODAY, publications

           operated by subsidiaries of Gannett Co., Inc. (GCI)

     89.   Thompson, Larry

     90.   Tillman, Seth Barrett

     91.   Tobin, Charles

     92.   Torres, Hon. Edwin

     93.   Trent, Edward H.

     94.   Tribe, Laurence

     95.   Troye, Olivia

     96.   Trump, Donald J.

     97.   Trusty, James

     98.   Twardy, Stanley

     99.   United States of America

     100. Univision Networks & Studios, Inc.

     101. VanDevender, Cecil

     102. Weiss, Stephen

     103. Weld, William

     104. Wharton, Kendra



                                   C-7
USCA11 Case: 24-12311   Document: 27-1   Date Filed: 09/03/2024   Page: 9 of 13



     105. Whitman, Christine Todd

     106. Woodward, Stanley

     107. WP Company LLC d/b/a The Washington Post

     108. WPLG, Inc.



                                  Respectfully submitted,

Dated: September 3, 2024



                                  /s/Matthew A. Seligman
                                  MATTHEW A. SELIGMAN
                                  Counsel of Record
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                                  mseligman@stris.com
                                  Counsel for Amici




                                   C-8
USCA11 Case: 24-12311   Document: 27-1   Date Filed: 09/03/2024   Page: 10 of 13



     Pursuant to Federal Rule of Appellate Procedure 29(a)(2) and 11th

Circuit Rule 29-1, amici move for leave to file the amici curiae brief in

support of Appellant United States America and Reversal of Judgment,

attached as Exhibit A. Undersigned counsel for amici certifies that he

solicited consent from the parties. Counsel for the United States of

America, Carlos De Olivera, and Waltine Natua replied taking no

position. Counsel for Donald J. Trump did not respond.

     Amici (identified in the attachment hereto) are eighteen former

prosecutors, elected officials, other government officials, constitutional

lawyers, and a non-profit organization who have collectively spent

decades defending the Constitution, the interests of the American

people, and the rule of law. By virtue of that experience, the amici bring

expertise that may be useful to the Court. Likewise, amici have a

significant interest in the proper scope of executive power and the

faithful enforcement of criminal laws enacted by Congress. As such, the

proposed amici brief is both relevant and desirable to the disposition of

this appeal.

     Pursuant to Federal Rule of Appellate Procedure 29 and 11th

Circuit Rules 29-1 and 29-2, amici respectfully request leave to submit



                                     1
USCA11 Case: 24-12311   Document: 27-1   Date Filed: 09/03/2024   Page: 11 of 13



their brief to reinforce why the appointment of the Special Counsel is

consistent with the Appointments Clause of the Constitution and the

statutes Congress has enacted pursuant to that constitutional

provision.

     For the foregoing reasons, the motion should be granted.



September 3, 2024                 Respectfully submitted,

                                  /s/Matthew A. Seligman
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                                    2
2746660.v1
USCA11 Case: 24-12311   Document: 27-1   Date Filed: 09/03/2024   Page: 12 of 13



         CERTIFICATE OF COMPLIANCE (FRAP 32(g))

     Under Federal Rule of Appellate Procedure 32(g), I hereby certify

that this motion complies with (1) the typeface requirements of Federal

Rules of Appellate Procedure 27(d)(1)(E) and 32(a)(5) because it was

written in Century Schoolbook, 14-point font and (2) the type-volume

limitations contained in Federal Rules of Appellate Procedure

27(d)(2)(A), because it contains 916 words, excluding those parts of the

brief excluded from the word count under Federal Rule of Appellate

Procedure 32(f), and inclusive of Attachment – List of Amici.



September 3, 2024



                                  /s/Matthew A. Seligman
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USCA11 Case: 24-12311    Document: 27-1   Date Filed: 09/03/2024   Page: 13 of 13



                     CERTIFICATE OF SERVICE

     I hereby certify that on September 3, 2024, a true and correct copy

of the foregoing document was electronically filed through CM/ECF.

Notice of this filing will be sent by e-mail to all parties by operation of

the Court’s electronic filing system.



September 3, 2024



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